     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 1 of 38

 1   Scott H. Angstreich*                           Marc R. Lewis (CA SBN 233306)
     Brendan J. Crimmins*                           LEWIS & LLEWELLYN LLP
 2   Rachel Proctor May*                            505 Montgomery Street, Suite 1300
     KELLOGG, HANSEN, TODD, FIGEL, &                San Francisco, CA 94111
 3   FREDERICK, P.L.L.C.                            (415) 800-0591
     1615 M Street NW, Suite 400                    mlewis@lewisllewellyn.com
 4   Washington, DC 20036
     (202) 326-7900                                 Attorney for Plaintiffs American Cable
 5   sangstreich@kellogghansen.com                  Association, CTIA – The Wireless
     bcrimmins@kellogghansen.com                    Association, NCTA – The Internet &
     rmay@kellogghansen.com                         Television Association, and USTelecom – The
 6                                                  Broadband Association
     Attorneys for Plaintiffs CTIA – The Wireless
 7   Association and USTelecom – The Broadband      Matthew A. Brill*
     Association                                    Matthew T. Murchison*
 8                                                  Adam J. Tuetken*
     Jeffrey A. Lamken*                             LATHAM & WATKINS LLP
 9   MOLOLAMKEN LLP                                 555 Eleventh Street NW, Suite 1000
     The Watergate, Suite 600                       Washington, DC 20004
10   600 New Hampshire Ave., NW                     (202) 637-2200
     Washington, DC 20037                           matthew.brill@lw.com
11   (202) 556-2000                                 matthew.murchison@lw.com
     jlamken@mololamken.com                         adam.tuetken@lw.com
12
     Attorney for Plaintiff American Cable          Attorneys for Plaintiff NCTA – The Internet &
13   Association                                    Television Association

14                                                  *Pro hac vice motion to be filed
15

16                        IN THE UNITED STATES DISTRICT COURT

17                     FOR THE EASTERN DISTRICT OF CALIFORNIA

18

19   AMERICAN CABLE ASSOCIATION, CTIA                     Case No. _____________
     – THE WIRELESS ASSOCIATION, NCTA –
20   THE INTERNET & TELEVISION
     ASSOCIATION, and USTELECOM – THE                     COMPLAINT
21   BROADBAND ASSOCIATION, on behalf of
22   their members,

23                            Plaintiffs,

24               v.

25   XAVIER BECERRA, in his official capacity
     as Attorney General of California,
26
                              Defendant.
27

28



                                                                                       COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 2 of 38



 1                                             COMPLAINT
 2            Plaintiffs American Cable Association (“ACA”), CTIA – The Wireless Association
 3   (“CTIA”), NCTA – The Internet & Television Association (“NCTA”), and USTelecom – The
 4   Broadband Association (“USTelecom,” and collectively with ACA, CTIA, and NCTA, the
 5   “Associations”) bring this suit on behalf of their members for declaratory judgment and injunctive
 6   relief against Defendant Xavier Becerra, in his official capacity as Attorney General of California,
 7   stating as follows:
 8                                       NATURE OF THE CASE
 9            1.     This case presents a classic example of unconstitutional state regulation. The State
10   of California has enacted SB-822, entitled the “California Internet Consumer Protection and Net
11   Neutrality Act of 2018,” directly regulating the provision of broadband Internet access services
12   (“BIAS”). 1 This statute was purposefully intended to countermand and undermine federal law by
13   imposing on BIAS the very same regulations that the Federal Communications Commission
14   (“FCC”) expressly repealed in its 2018 Restoring Internet Freedom Order (and by adopting even
15   more restrictive regulations), despite the fact that both the FCC decision and the federal
16   Communications Act of 1934, as amended (“Communications Act”), prohibit states from taking
17   such action with respect to jurisdictionally interstate services like BIAS. SB-822 is therefore
18   preempted under the Supremacy Clause of the United States Constitution. It also regulates far
19   outside the borders of the State of California and unduly burdens interstate commerce in violation
20   of the dormant Commerce Clause of the United States Constitution. As the FCC has repeatedly
21   recognized, due to the inherently interstate nature of Internet service, it is impossible or
22   impracticable for an Internet service provider (“ISP”) offering BIAS to distinguish traffic that
23   moves only within California from traffic that crosses state borders. Both the Supremacy Clause
24   and the dormant Commerce Clause protect ISPs from a patchwork of inconsistent regulations that
25

26
     1
27       SB-822 is reproduced in Exhibit A.

28

                                                       2
                                                                                            COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 3 of 38



 1   are unduly burdensome and impossible to comply with as a practical matter. The Court should
 2   declare that SB-822 is preempted and unconstitutional, and should permanently enjoin Defendant
 3   from enforcing or giving effect to it. 2
 4           2.      After careful review and deliberation, the FCC recently adopted the 2018 Restoring
 5   Internet Freedom Order, which established “a calibrated federal regulatory regime” for mass-
 6   market BIAS “based on the pro-competitive, deregulatory goals of the 1996 [Telecommunications]
 7   Act.” Restoring Internet Freedom, Declaratory Ruling, Report and Order, and Order, 33 FCC
 8   Rcd. 311 ¶ 194 (2018) (“2018 Order”); see also Notice of Final Rule and Announcement of
 9   Effective Date, 83 Fed. Reg. 21,927 (May 11, 2018) (announcing effective date of 2018 Order as
10   June 11, 2018). The 2018 Order protects Internet openness with a regime of transparency and
11   disclosure rather than heavy-handed regulations. Pursuant to that regime, the Associations’
12   members, either on their own or through their Associations, have made public commitments to
13   preserve core principles of Internet openness. See, e.g., 2018 Order ¶ 142 (collecting examples of
14   members’ commitments). Those commitments, as the FCC explained, are fully enforceable by the
15   Federal Trade Commission (“FTC”) and state attorneys general under federal and state unfair and
16   deceptive trade practices laws (provided they enforce such commitments in a manner consistent
17   with federal law). See id. ¶¶ 142, 196, 244; see also id. ¶ 242. “Transparency thus leads to
18   openness,” id. ¶ 245, and the Internet has remained free and open since the adoption of the 2018
19   Order, just as it was under the longstanding light-touch approach that applied for most of the
20   Internet’s history.
21           3.      The 2018 Order also determined that BIAS is an inherently interstate “information
22   service,” as defined by the Communications Act, restoring the longstanding position that the FCC
23   (on a bipartisan basis) and the courts had adhered to for decades. See id. ¶¶ 20, 199. The 2018
24   Order thereby reversed a 2015 FCC ruling, see Protecting and Promoting the Open Internet,
25   Report and Order on Remand, Declaratory Ruling, and Order, 30 FCC Rcd. 5601 ¶ 331 (2015)
26

27
     2
      The Associations also are filing a Motion for Preliminary Injunction concurrently with this
28   Complaint, based on the immediate irreparable harm posed by SB-822.
                                                       3
                                                                                          COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 4 of 38



 1   (“2015 Order”), that BIAS should be regulated as a common carrier “telecommunications service”
 2   under the Communications Act. The 2018 Order similarly restored the FCC’s longstanding
 3   determination that wireless BIAS is not a “commercial mobile service” under the Communications
 4   Act and therefore is statutorily immune from common carrier regulation. 2018 Order ¶ 74. Here,
 5   too, the FCC reversed a 2015 ruling, see 2015 Order ¶ 388, that mass-market wireless BIAS should
 6   be regulated as a common carrier commercial mobile service.
 7          4.      Based on the disclosure regime and these statutory classifications, the FCC repealed
 8   certain “net neutrality” rules and regulations that were adopted in the 2015 Order and predicated
 9   on the classification of BIAS as a common carrier service. The 2015 Order had imposed five basic
10   forms of conduct regulation on the provision of BIAS: a no-blocking rule, a no-throttling rule, a
11   no-paid-prioritization rule, a general “Internet Conduct Standard,” and a process for filing
12   complaints challenging the reasonableness of ISPs’ Internet interconnection and traffic-exchange
13   practices. The 2018 Order repealed each of these measures based on federal law and policy
14   mandating a light-touch regulatory approach to BIAS. See 2018 Order ¶¶ 1-5. The FCC also
15   revised its longstanding “transparency rule” to specifically require ISPs to disclose blocking,
16   throttling, and other practices to protect Internet openness through a policy of disclosure. Id.
17   ¶¶ 220-223.
18          5.      In addition to reclassifying (and thereby reestablishing) fixed and mobile BIAS as
19   services statutorily immune from common carrier regulation and repealing the above-described
20   rules and regulations, the 2018 Order included a broadly worded express preemption directive,
21   making clear that the 2018 Order “preempt[s] any state or local measures that would effectively
22   impose rules or requirements that [the FCC has] repealed or decided to refrain from imposing in
23   order or that would impose more stringent requirements for any aspect of broadband service”
24   addressed in the 2018 Order. Id. ¶ 195 (emphases added). Notably, the primacy of federal law in
25   this “inherently” “jurisdictionally interstate” context is one of the few points on which the 2018
26   Order and the 2015 Order agree: both decisions “preclude[d] states from imposing obligations on
27   broadband services that are inconsistent with the carefully tailored [federal] regulatory scheme.”

28   2015 Order ¶¶ 431, 433; see 2018 Order ¶¶ 194-195, 200.

                                                      4
                                                                                           COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 5 of 38



 1          6.      Notwithstanding the 2018 Order’s binding legal rulings and clear preemptive
 2   effect, the State of California enacted SB-822, which, by its own terms, is deliberately intended to
 3   revive the rules the FCC repealed in the 2018 Order and thereby effectively nullify federal law.
 4   As explained above, the 2018 Order repealed the no-blocking rule, no-throttling rule, no-paid-
 5   prioritization rule, Internet Conduct Standard, and common carrier regulation of ISPs’ Internet
 6   interconnection and traffic-exchange practices. SB-822 now purports to re-impose every single
 7   one of those restrictions on any ISP providing BIAS in the State of California. Moreover, SB-822
 8   establishes restrictions that go further than those repealed in the 2018 Order, including banning
 9   outright the “zero-rating” of traffic delivered to users and imposing ambiguous restrictions on
10   agreements for the exchange of Internet traffic with edge providers and other Internet network
11   operators.
12          7.      In declining to ban zero-rating and paid interconnection in the 2015 Order, the FCC
13   expressly found that both practices can provide significant benefits to consumers and edge
14   providers. See 2015 Order ¶¶ 152, 201. Zero-rating—the practice of exempting certain content
15   from users’ data allowances—gives users more data for their money. Paid interconnection
16   agreements directly with BIAS providers allow edge providers to bypass the middlemen and
17   content distribution networks they would otherwise pay to distribute their content, while also
18   allowing them to bring their content closer to the computers, tablets, and smartphones of the
19   consumers who wish to use it.
20          8.      California’s attempts to revive—and indeed expand—a repealed federal regulatory
21   regime are plainly preempted. Under the Supremacy Clause of the United States Constitution,
22   U.S. Const. art. VI, cl. 2, state measures that contravene validly adopted federal laws and policy
23   determinations, including those contained in FCC orders, are preempted and have no force or
24   effect. Here, that preemption applies for at least two distinct reasons.
25          9.      First, the 2018 Order expressly preempts SB-822. Given the inherently interstate
26   nature of BIAS, the FCC has consistently determined that BIAS must be governed “by a uniform
27   set of federal regulations, rather than by a patchwork that includes separate state and local

28   requirements.” 2018 Order ¶ 194; see also 2015 Order ¶ 433 (ruling that BIAS must remain

                                                        5
                                                                                            COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 6 of 38



 1   subject to “a comprehensive regulatory framework” at the national level that “preclude[s] states
 2   from imposing obligations on broadband service that are inconsistent with the [FCC’s] carefully
 3   tailored regulatory scheme”). Disparate state and local requirements could “significantly disrupt
 4   the balance” struck by federal law and “impair the provision of such service by requiring each ISP
 5   to comply with a patchwork of separate and potentially conflicting requirements across all the
 6   different jurisdictions in which it operates.” 2018 Order ¶ 194. This is already happening; while
 7   California has been at the forefront of these efforts, several other states have adopted or are in the
 8   process of adopting different and incongruous net neutrality requirements, which are consistent
 9   only in their disregard for the primacy of federal law. And given the high degree of ambiguity
10   inherent in many of the requirements, state agencies and courts inevitably will interpret these
11   requirements differently and further perpetuate and compound their incongruity. The FCC
12   expressly found that such state and local efforts to regulate in this area “could pose an obstacle to
13   or place an undue burden on the provision of broadband Internet access service and conflict with
14   the deregulatory approach” adopted in the 2018 Order. Id. ¶ 195. SB-822 unquestionably
15   constitutes a state measure that “impose[s] rules or requirements that [the FCC has] repealed or
16   decided to refrain from imposing” and thus is expressly preempted by federal law. Id. It likewise
17   stands as an obstacle to the federal policy of reducing regulation of BIAS and thus is invalid under
18   conflict preemption principles and precedent as well.
19          10.     Second, the Communications Act itself also preempts SB-822 because it imposes
20   impermissible common carrier regulations—that is, categorical bans affecting how providers offer
21   service that leave “no room at all for individualized bargaining.” Verizon v. FCC, 740 F.3d 623,
22   658 (D.C. Cir. 2014). The Communications Act expressly prohibits the imposition of common
23   carrier obligations on providers of information services and on providers of private mobile
24   services. See id. at 650 (citing 47 U.S.C. §§ 153(51), 332(c)(1)(A)). 3 That is why, prior to the
25   2015 Order, the D.C. Circuit invalidated some of the same requirements that California seeks to
26

27   3
       “Private mobile services” are those mobile services that are not “commercial mobile radio
28   services” as defined by the Communications Act and the FCC. 47 U.S.C. § 332(d).

                                                        6
                                                                                              COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 7 of 38



 1   impose here when the FCC applied them to such non-common-carrier services. See Verizon, 740
 2   F.3d at 650. It is also why the FCC’s adoption of these and other requirements in its now-rescinded
 3   2015 Order was predicated on classifying BIAS as a common carrier telecommunications service.
 4   See 2015 Order ¶¶ 307-308. That predicate no longer applies because the 2018 Order restored the
 5   longstanding classification of BIAS as an information service, and of mobile BIAS as a private
 6   mobile service. As the Eighth Circuit recently reiterated, “‘any state regulation of an information
 7   service conflicts with the federal policy of nonregulation,’ so that such regulation is preempted by
 8   federal law.” Charter Advanced Servs. (MN), LLC v. Lange, --- F.3d ---, No. 17-2290, 2018 WL
 9   4260322, at *2 (8th Cir. Sept. 7, 2018) (quoting Minn. Pub. Utils. Comm’n v. FCC, 483 F.3d 570,
10   580 (8th Cir. 2007)). Thus, SB-822 impermissibly imposes common carrier regulations on
11   services that are statutorily exempt from such regulation. The Communications Act also expressly
12   prohibits states from “regulat[ing] the entry of or the rates charged by . . . any private mobile
13   service.” 47 U.S.C. § 332(c)(3)(A). Yet SB-822 engages in just such regulation by imposing a
14   ban on certain kinds of zero-rating. Thus, this Court should declare SB-822 unconstitutional under
15   the Supremacy Clause of the United States Constitution and enjoin Defendant from enforcing or
16   giving effect to it.
17           11.     Finally, SB-822 violates the “dormant” or “negative” Commerce Clause of the
18   United States Constitution by regulating conduct occurring wholly outside California’s borders.
19   Specifically, SB-822 regulates Internet services that involve overwhelmingly interstate
20   communications, which the FCC has found cannot practically be separated from instances of
21   purely intrastate electronic communications. Moreover, in regulating Internet interconnection,
22   SB-822 is not limited to ISPs’ dealings with California customers; it also effectively regulates
23   ISPs’ contracts with edge providers in all fifty states, and the exchange of traffic occurring wholly
24   outside of California. SB-822 also violates the “dormant” or “negative” Commerce Clause
25   because it imposes burdens on interstate commerce that far outweigh any purported benefits to
26   California by re-imposing rules that the FCC expressly found to harm interstate commerce and to
27   offer no net benefits.

28

                                                       7
                                                                                             COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 8 of 38



 1                                    JURISDICTION AND VENUE
 2          12.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because the
 3   Associations’ claims arise under the laws of the United States, including the Communications Act,
 4   the 2018 Order, 42 U.S.C. § 1983, and the Supremacy and Commerce Clauses of the United States
 5   Constitution. This Court has equitable jurisdiction to enjoin unconstitutional action. Armstrong
 6   v. Exceptional Child Ctr., Inc., 135 S. Ct. 1378, 1384 (2015).
 7          13.      Because an actual controversy within the Court’s jurisdiction exists, this Court may
 8   grant declaratory and injunctive relief pursuant to the Declaratory Judgment Act, 28 U.S.C.
 9   §§ 2201-2202.
10          14.      Venue is proper in the Eastern District of California under 28 U.S.C. § 1391(b)(1)
11   and (b)(2), because Defendant is located within this district and a substantial part of the events
12   giving rise to the Associations’ claims occurred in this district.
13                                                PARTIES
14          15.      Plaintiff ACA is a trade association of small and medium-sized cable companies in
15   the United States. Many of ACA’s members are small, family-owned businesses that have served
16   their communities for decades. Multiple ACA members offer broadband services, including BIAS,
17   to households, businesses, and governmental entities in California.
18          16.      Plaintiff CTIA is a non-profit association that represents the wireless
19   communications industry. Members of CTIA include wireless broadband ISPs operating in the
20   State of California and throughout the country, as well as providers of other wireless services,
21   device manufacturers, and other wireless industry participants.
22          17.      Plaintiff NCTA is the principal national trade association of the cable industry in
23   the United States. Its members include cable providers offering broadband services, including
24   BIAS, to households, businesses, and governmental entities throughout the country, including in
25   California.
26          18.      Plaintiff USTelecom is a non-profit association of service providers and suppliers
27   for the telecommunications industry. Its members provide broadband services, including BIAS

28

                                                        8
                                                                                            COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 9 of 38



 1   and new Internet Protocol-based services over fiber-rich networks, to millions of consumers and
 2   businesses across the country, including in California.
 3          19.     The Associations have standing to bring the claims asserted in this Complaint on
 4   behalf of their members because (a) the subject matter of this suit is germane to the Associations’
 5   purpose; (b) members of the Associations would have standing on their own to bring these claims,
 6   given the substantial harms that members face if the invalid and unconstitutional state measures at
 7   issue here were to be enforced; and (c) neither the claims asserted, nor the relief requested, requires
 8   the participation of the Associations’ individual members in this lawsuit.
 9          20.     Defendant Xavier Becerra is the Attorney General of California. Pursuant to
10   Article V, Section 13 of the California Constitution, as well as his common law parens patriae
11   power, he is the “chief law officer of the State” with the “duty” “to see that the laws of the State
12   are uniformly and adequately enforced,” and to “prosecute any violations of law” whenever “in
13   the opinion of the Attorney General any law of the State is not being adequately enforced.” Cal.
14   Const. art. V, § 13. Additionally, under California’s Unfair Competition Law, the Attorney
15   General has the power to bring an action against businesses for violations of SB-822’s
16   requirements. See Cal. Bus. & Prof. Code § 17200 (prohibiting “any unlawful, unfair or fraudulent
17   business act”); Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tele. Co., 973 P.2d 527, 540 (Cal. 1999)
18   (“By proscribing ‘any unlawful’ business practice, ‘section 17200 borrows violations of other laws
19   and treats them as unlawful practices’ . . . .” (quoting State Farm Fire & Cas. Co. v. Super. Ct., 53
20   Cal. Rptr. 2d 229, 234 (Ct. App. 1996))); Cal. Bus. & Prof. Code § 17204 (providing enforcement
21   authority to the Attorney General for violations of § 17200). The Attorney General thus has both
22   “direct authority and practical ability to enforce the challenged statute.” Nat’l Audubon Soc’y, Inc.
23   v. Davis, 307 F.3d 835, 846 (9th Cir. 2002). The Attorney General has pledged that it will be “a
24   priority for his office” to “preserv[e] net neutrality protections for consumers.” Cal. Sen. Judiciary
25   Comm., SB-822, at 22 (Apr. 23, 2018), available at https://leginfo.legislature.ca.gov/faces/
26   billAnalysisClient.xhtml?bill_id=201720180SB822. He is sued in his official capacity only.
27

28

                                                        9
                                                                                              COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 10 of 38



 1                                       STATEMENT OF FACTS
 2                                       The Associations’ Members
 3            21.   The Associations’ members provide BIAS to customers throughout California.
 4   These members provide BIAS in California (and throughout the country) using extensive wired
 5   and wireless networks that enable the routing of data packets along dynamic paths without regard
 6   for state or even national boundaries. It is “well-settled” that the Associations’ members’ BIAS
 7   offerings are “jurisdictionally interstate service[s] because ‘a substantial portion of Internet traffic
 8   involves accessing interstate or foreign websites.’” 2018 Order ¶ 199 (quoting Bell Atl. Tel. Cos.
 9   v. FCC, 206 F.3d 1, 5 (D.C. Cir. 2000)); see also id. ¶¶ 199-200 (collecting cites to extensive prior
10   FCC and judicial precedent in support). “Because both interstate and intrastate communications
11   can travel over the same Internet connection (and indeed may do so in response to a single query
12   from a consumer), it is impossible or impracticable for ISPs to distinguish between intrastate and
13   interstate communications over the Internet or to apply different rules in each circumstance.” Id.
14   ¶ 200.
15            22.   Moreover, as the Internet is a “network of networks,” ISPs must interconnect with
16   numerous other network operators to exchange Internet traffic—including large “backbone”
17   providers, which carry high volumes of Internet traffic, content delivery networks (“CDNs”),
18   which store content in geographically distributed locations for more efficient delivery, and other
19   intermediate network providers. The highly interconnected nature of the Internet ensures that there
20   are many paths to an ISP’s network for any particular Internet content provider (also known as an
21   “edge provider”). Although many edge providers pay intermediate network providers to reach
22   ISPs and their customers, some edge providers have found it more efficient to invest in their own
23   content distribution networks, which they then seek to interconnect directly with ISPs. Those edge
24   providers often pay ISPs consideration for that direct interconnection, consistent with longstanding
25   and well-established market practices. ISPs typically offer “settlement-free” interconnection (that
26   is, interconnection without monetary payment by either party) to network operators that offer a
27   generally balanced exchange of traffic and mutual value to the providers (and their customers) on

28   both sides. Where the exchange of traffic or value instead is significantly out of balance, it is

                                                        10
                                                                                               COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 11 of 38



 1   common for the interconnection arrangement to involve payment in one direction or the other.
 2   Moreover, interconnecting providers often agree to share the costs of upgrading capacity at
 3   interconnection points caused by shifts in traffic volumes or flows. These payments help ensure
 4   that no provider is saddled with funding network costs imposed disproportionately by another, and
 5   provide market-driven incentives for interconnecting parties to exchange Internet traffic in an
 6   efficient and predictable manner. This is how the Internet has operated for decades. Absent such
 7   paid interconnection arrangements, all network costs would be shifted to ISPs’ customers. In
 8   addition, the potential for traffic congestion that degrades end users’ online experiences would
 9   increase significantly.
10                     Federal Law Governing Broadband Internet Access Service
11          23.     The provision of BIAS in general—and the issue of net neutrality in particular—
12   have long been the focus of substantial regulatory interest and activity at the federal level. That is
13   as it should be, given the inherently interstate nature of Internet service. For many years before
14   2015, the FCC repeatedly made clear that BIAS is properly classified as an interstate information
15   service and, therefore, free from common-carrier-style regulation. See, e.g., In re GTE Telephone
16   Operating Cos., Memorandum Opinion and Order, 13 FCC Rcd. 22466 ¶¶ 16-19 (1998); Inquiry
17   Concerning High-Speed Access to the Internet Over Cable and Other Facilities, Declaratory
18   Ruling and Notice of Proposed Rulemaking, 17 FCC Rcd. 4798 ¶¶ 38-39 (2002); Appropriate
19   Framework for Broadband Access to the Internet Over Wireline Facilities, Report and Order and
20   Notice of Proposed Rulemaking, 20 FCC Rcd. 14853 ¶ 12 (2005); United Power Line Council’s
21   Petition for Declaratory Ruling Regarding the Classification of Broadband Over Power Line
22   Internet Access Service as an Information Service, Memorandum Opinion and Order, 21 FCC Rcd.
23   13281 (2006); Appropriate Regulatory Treatment for Broadband Access to the Internet Over
24   Wireless Networks, Declaratory Ruling, 22 FCC Rcd. 5901 (2007); see also National Cable &
25   Telecomms. Ass’n v. Brand X Internet Servs., 545 U.S. 967, 1003 (2005) (upholding the FCC’s
26   2002 determination that BIAS is an information service).
27          24.     The 2015 Order. In 2015, the FCC temporarily deviated from its longstanding

28   classification of BIAS as an information service when it adopted the 2015 Order, which

                                                       11
                                                                                              COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 12 of 38



 1   reclassified only “mass-market retail” BIAS as an interstate “telecommunications service.” See
 2   2015 Order ¶¶ 25, 189, 308. The FCC simultaneously reclassified “mass-market retail” mobile
 3   BIAS as a “commercial mobile service.” Id. ¶ 388. With these changes to then-existing law, the
 4   FCC was able to subject mass-market fixed and mobile BIAS to common carrier regulation.
 5   Exercising that newly created authority, it did just that, adopting a set of net neutrality regulations
 6   governing BIAS providers. The regulations included the following three so-called “bright-line”
 7   rules:
 8            •     No blocking: “A person engaged in the provision of broadband Internet access
 9                  service, insofar as such person is so engaged, shall not block lawful content,
10                  applications, services, or nonharmful devices, subject to reasonable network
11                  management.” 2015 Order ¶ 15.
12            •     No throttling: “A person engaged in the provision of broadband Internet access
13                  service, insofar as such person is so engaged, shall not impair or degrade lawful
14                  Internet traffic on the basis of Internet content, application, or service, or use of a
15                  non-harmful device, subject to reasonable network management.” Id. ¶ 16.
16            •     No paid prioritization: “A person engaged in the provision of broadband Internet
17                  access service, insofar as such person is so engaged, shall not engage in paid
18                  prioritization. ‘Paid prioritization’ refers to the management of a broadband
19                  provider’s network to directly or indirectly favor some traffic over other traffic,
20                  including through use of techniques such as traffic shaping, prioritization,
21                  resource reservation, or other forms of preferential traffic management, either (a)
22                  in exchange for consideration (monetary or otherwise) from a third party, or (b) to
23                  benefit an affiliated entity.” Id. ¶ 18.
24            25.   The FCC also adopted a general “Internet Conduct Standard,” which stated: “Any
25   person engaged in the provision of broadband Internet access service, insofar as such person is so
26   engaged, shall not unreasonably interfere with or unreasonably disadvantage (i) end users’ ability
27   to select, access, and use broadband Internet access service or the lawful Internet content,

28   applications, services, or devices of their choice, or (ii) edge providers’ ability to make lawful

                                                        12
                                                                                               COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 13 of 38



 1   content, applications, services, or devices available to end users. Reasonable network management
 2   shall not be considered a violation of this rule.” Id. ¶ 21. Notably, in the context of adopting the
 3   Internet Conduct Standard, the FCC considered a ban on “zero-rating”—a practice that allows ISPs
 4   (typically those that provide mobile BIAS) to exclude certain content from an end user’s monthly
 5   data usage allowance. Id. ¶ 151. But the FCC declined to impose a presumptive ban, observing
 6   that “new [zero-rated] service offerings, depending on how they are structured, could benefit
 7   consumers and competition,” and thus opting instead for case-by-case review of specific zero-
 8   rating plans under the Internet Conduct Standard.         Id. ¶ 152.   The 2015 Order expressly
 9   acknowledged that the Internet Conduct Standard, together with the bright-line rules noted above,
10   constituted common carrier regulation. See id. ¶¶ 288-296.
11          26.     Additionally, the 2015 Order provided for “case-by-case” review of the
12   “reasonable[ness]” of ISPs’ practices when interconnecting with other network operators and
13   exchanging Internet traffic through those connections. See id. ¶¶ 202-206. This, too, was framed
14   as an application of common carrier obligations to BIAS. See id. ¶ 204. In establishing this case-
15   by-case review of ISPs’ interconnection and traffic-exchange practices, the FCC expressly
16   declined to “apply the open Internet rules to interconnection.” Id. ¶ 30; see also id. ¶ 202 (“We do
17   not believe that it is appropriate or necessary to subject arrangements for Internet traffic exchange
18   . . . to the rules we adopt today.”). The FCC also rejected proposals to ban payments in the context
19   of Internet interconnection and traffic exchange—which, as noted above, have long been
20   commonplace in the marketplace and help promote efficiency and predictability. See id. ¶ 202
21   (declining “to draw policy conclusions concerning new paid Internet traffic-exchange
22   arrangements between broadband Internet access service providers and edge providers, CDNs, or
23   backbone services”).
24          27.     The FCC supplemented these common carrier regulations with rules intended to
25   ensure that Internet access service providers are transparent about their network management
26   practices and terms of service. To that end, the 2015 Order left in place transparency requirements
27   first adopted in 2010, though the FCC added certain non-codified “enhancements” to the

28   requirements. See id. ¶ 23 (“A person engaged in the provision of broadband Internet access

                                                       13
                                                                                             COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 14 of 38



 1   service shall publicly disclose accurate information regarding the network management practices,
 2   performance, and commercial terms of its broadband Internet access services sufficient for
 3   consumers to make informed choices regarding use of such services and for content, application,
 4   service, and device providers to develop, market, and maintain Internet offerings.”); id. ¶ 24
 5   (describing the enhancements).
 6          28.     The 2018 Order. In 2017, the FCC reexamined this departure from its historical
 7   approach to the Internet and adopted the 2018 Order, which restored the pre-2015 classification of
 8   BIAS as an interstate “information service,” as well as the pre-2015 classification of mobile BIAS
 9   as a “private mobile service.” Relying on both the Communications Act, which precludes
10   subjecting these services to common carrier regulation, and an in-depth analysis of the public
11   interest, the FCC repealed the so-called bright-line rules in the 2015 Order on blocking, throttling,
12   and paid prioritization, as well as the Internet Conduct Standard. See 2018 Order ¶¶ 239, 246-267.
13   The 2018 Order also eliminated the 2015 Order’s case-by-case oversight of ISPs’ interconnection
14   practices, based on extensive record evidence showing that “present competitive pressures in the
15   market for Internet traffic exchange . . . undermine the need for regulatory oversight.” Id. ¶ 170.
16   In lieu of these requirements, the 2018 Order revised the transparency rule to expressly require
17   that BIAS providers publicly and clearly disclose any blocking, throttling, paid prioritization, or
18   affiliated prioritization. See id. ¶ 220. The FCC preserved the core requirement that ISPs disclose
19   key terms relating to broadband performance, commercial terms, and network management, see
20   id. ¶ 115, while rescinding certain “enhancements” that the 2015 Order had imposed, such as
21   requirements concerning the disclosure of highly technical performance characteristics, which the
22   FCC determined would not be useful to consumers, see id. ¶¶ 214-215, 221-222.
23          29.     The FCC further determined that the FTC has both the authority and capability to
24   “enforce any commitments made by ISPs regarding their network management practices,”
25   including the net neutrality commitments the Associations and their members had made publicly.
26   Id. ¶ 141 (citing 15 U.S.C. § 45(a)). It further noted that federal antitrust laws, enforceable by both
27   the FTC and Department of Justice, provide additional protections. See id. ¶ 143. Thus, the FCC

28   concluded that “the [revised] transparency rule,” “in combination with the state of broadband

                                                        14
                                                                                              COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 15 of 38



 1   Internet access service competition and the antitrust and consumer protection laws, obviates the
 2   need for conduct rules by achieving comparable benefits at lower cost.” Id. ¶ 239.
 3            30.   The 2018 Order further reaffirmed the FCC’s longstanding (and bipartisan)
 4   determination that BIAS is inherently interstate and must be governed by “a uniform set of federal
 5   regulations, rather than by a patchwork that includes separate state and local requirements.” 2018
 6   Order ¶ 194. Indeed, the FCC has long confirmed its “preemption authority to preclude states
 7   from imposing obligations on broadband service that are inconsistent with the [FCC’s] carefully
 8   tailored regulatory scheme.” 2015 Order ¶ 433. Federal courts have likewise affirmed that BIAS
 9   is an “‘interstate and foreign communication by wire’ within the meaning of Title I of the
10   Communications Act,” Comcast Corp. v. FCC, 600 F.3d 642, 646-47 (D.C. Cir. 2010) (quoting
11   47 U.S.C. § 152(a)), and thereby subject to the “centraliz[ed] authority” of the FCC, 47 U.S.C.
12   § 151.
13            31.   Building on its long-held position, the FCC explained in the 2018 Order that it was
14   establishing “a calibrated federal regulatory regime [for broadband] based on the pro-competitive,
15   deregulatory goals of the 1996 Act.” 2018 Order ¶ 194. Allowing state and local governments to
16   adopt their own separate, and more burdensome, requirements for broadband service, the FCC
17   explained, could “significantly disrupt the balance” struck by federal law and “could impair the
18   provision of such service by requiring each ISP to comply with a patchwork of separate and
19   potentially conflicting requirements across all the different jurisdictions in which it operates.” Id.
20            32.   Accordingly, and central to this suit, the FCC included a broadly worded, express
21   preemption provision in the 2018 Order. That provision states that the 2018 Order “preempt[s]
22   any state or local measures that would effectively impose rules or requirements that [the FCC has]
23   repealed or decided to refrain from imposing in this order or that would impose more stringent
24   requirements for any aspect of broadband service” addressed in that order, 2018 Order ¶ 195
25   (emphases added), “includ[ing] any state laws that would require the disclosure of [BIAS]
26   performance information, commercial terms, or network management practices in any way
27   inconsistent with the transparency rule adopted” by the 2018 Order, id. ¶ 195 n.729. This

28   preemption is necessary, the FCC explained, because state efforts to regulate in this area “could

                                                       15
                                                                                              COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 16 of 38



 1   pose an obstacle to or place an undue burden on the provision of broadband Internet access service
 2   and conflict with the deregulatory approach” adopted in the 2018 Order. Id. Indeed, even the
 3   2015 Order determined “that broadband Internet access service is jurisdictionally interstate for
 4   regulatory purposes,” 2015 Order ¶ 431—as the 2018 Order reaffirmed, see 2018 Order ¶ 199—
 5   and admonished states not to “frustrate federal broadband policies,” 2015 Order ¶ 433.
 6          33.     The 2018 Order enjoys the full protection of the Supremacy Clause. The Supreme
 7   Court has long recognized that “[f]ederal regulations have no less pre-emptive effect than federal
 8   statutes,” Fid. Fed. Sav. & Loan Ass’n v. de la Cuesta, 458 U.S. 141, 153 (1982), and that “a
 9   federal agency acting within the scope of its congressionally delegated authority may pre-empt
10   state regulation and hence render unenforceable state or local laws that are otherwise not
11   inconsistent with federal law,” City of New York v. FCC, 486 U.S. 57, 63-64 (1988) (internal
12   quotation marks omitted). Moreover, a federal determination that an area is best left “unregulated”
13   carries “as much pre-emptive force as a decision to regulate.” Ark. Elec. Co-op. v. Ark. Pub. Serv.
14   Comm’n, 461 U.S. 375, 384 (1983) (emphasis in original); see also Geier v. Am. Honda Motor
15   Co., 529 U.S. 861, 883-84 (2000) (federal determination that statutory objectives, including
16   promoting innovation, were best achieved through less rather than more regulation constituted a
17   substantive determination with preemptive force); Minn. Pub. Utils. Comm’n, 483 F.3d at 580
18   (recognizing that “deregulation” is a “valid federal interest[] the FCC may protect through
19   preemption of state regulation”). States thus must respect, and not flout, the 2018 Order’s policy
20   determinations regarding the proper regulatory status of BIAS and its preemption provision, just
21   like any other federal law.
22                                         California’s SB-822
23          34.     On August 31, 2018, the California Legislature passed SB-822. From inception
24   through enactment, the sponsors of SB-822 have made crystal clear that the purpose of this statute
25   is to nullify the FCC’s decision to restore the longstanding, light-touch regulatory approach, and
26   thus to recreate the rejected federal regime at the state level. E.g., Cal. Assembly Comm. on
27   Commc’ns      &     Conveyance,     SB-822,     at    6   (Aug.    22,    2018),    available    at

28   https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=201720180SB822

                                                      16
                                                                                           COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 17 of 38



 1   (quoting bill authors’ statement that “[w]hen the federal government decides to walk away from
 2   this duty [to regulate BIAS] and its authority to regulate this industry, it is up to the states to protect
 3   their residents,” and that “Senate Bill 822 steps in and puts California at the national forefront of
 4   ensuring an open internet”); id. at 9 (“This bill seeks to codify the prescribed [2015 Order rules
 5   that were repealed by the 2018 Order] . . . .”); Press Release, Senators Wiener and De Leon and
 6   Assemblymembers Santiago and Bonta Announce Agreement on California Bill with Strongest Net
 7   Neutrality Protections in the Country (July 5, 2018), http://sd11.senate.ca.gov/news/20180705-
 8   senators-wiener-and-de-leon-and-assemblymembers-santiago-and-bonta-announce-agreement
 9   (“[T]he legislators announced an agreement on bill language that will ensure California enacts
10   strong, comprehensive, and enforceable net neutrality reflecting what was repealed by the FCC
11   last year.”); Press Release, Senator Wiener to Introduce Net Neutrality in California (Dec. 14,
12   2017),           http://sd11.senate.ca.gov/news/20171214-senator-wiener-introduce-net-neutrality-
13   legislation-california (announcing “plans to introduce legislation to establish net neutrality
14   protections in California after the Federal Communications Commission repealed national Net
15   Neutrality regulations”).
16             35.    SB-822 directly re-imposes the very same regulatory restrictions that the FCC
17   repealed and expressly preempted states from enacting in the 2018 Order. SB-822 prohibits ISPs
18   offering BIAS to customers in California from, among other things, “[b]locking lawful content,
19   applications, services, or nonharmful devices”; “[i]mpairing or degrading lawful Internet traffic
20   on the basis of Internet content, application, or service”; and “[e]ngaging in paid prioritization.”
21   Cal. Civ. Code § 3101(a)(1), (2), (4). 4 These provisions are largely identical to the three bright-
22   line rules adopted in the 2015 Order and later rescinded in the 2018 Order. Compare Cal. Civ.
23   Code § 3101(a)(1), with 2015 Order ¶ 15; compare Cal. Civ. Code § 3101(a)(2), with 2015 Order
24   ¶ 16; compare Cal. Civ. Code § 3101(a)(4), with 2015 Order ¶ 18. SB-822 also incorporates the
25   Internet Conduct Standard adopted in the 2015 Order, and rescinded in the 2018 Order, nearly
26   verbatim. Compare Cal. Civ. Code § 3101(a)(7)(A), with 2015 Order ¶ 21. Moreover, while the
27

28   4
         Citations to the California Civil Code refer to the Code sections that will be amended by SB-822.
                                                          17
                                                                                                  COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 18 of 38



 1   2018 Order eliminated the 2015 Order’s scheme for overseeing ISPs’ interconnection and traffic-
 2   exchange practices, SB-822 subjects those practices to regulation, and it does so without regard to
 3   whether the interconnection and traffic exchange occurs inside or outside of California. See Cal.
 4   Civ. Code § 3101(a)(9). 5
 5          36.     Indeed, SB-822 actually goes further than the 2015 Order. First, while the 2015
 6   Order declined to prohibit zero-rating and instead subjected the practice to case-by-case review
 7   under the Internet Conduct Standard, see supra ¶ 25, SB-822 imposes outright bans on “[e]ngaging
 8   in zero-rating in exchange for consideration, monetary or otherwise, by third parties” and on
 9   “[z]ero-rating some Internet content, applications, services, or devices in a category of Internet
10   content, applications, services, or devices, but not the entire category.”         Cal. Civ. Code §
11   3101(a)(5), (6). These prohibitions effectively outlaw zero-rated offerings that have been available
12   in the marketplace since before the 2015 Order and remain available today, including in California,
13   thereby depriving consumers of the ability to use data for free.
14          37.     Second, while the 2015 Order opted for case-by-case review of ISPs’
15   interconnection and traffic-exchange practices, and expressly declined to prohibit paid
16   interconnection and traffic-exchange arrangements or to apply other bright-line prohibitions to
17   those arrangements, see supra ¶ 26, SB-822 imposes restrictions on direct interconnection
18   arrangements between ISPs and edge providers. In particular, SB-822 restricts ISPs offering BIAS
19   from “entering into ISP traffic exchange agreements that . . . evade the prohibitions contained” in
20   Sections 3101 and 3102. Cal. Civ. Code § 3101(a)(9); see id. § 3100(m) (defining ISP traffic
21   exchange agreements). SB-822 also restricts those ISPs from “[r]equiring consideration, monetary
22   or otherwise, from edge providers, including, but not limited to, in exchange for any of the
23

24   5
       SB-822 also includes its own disclosure requirement for ISPs—one that differs from the revised
     transparency rule adopted in the 2018 Order. Compare 2018 Order ¶ 215 (requiring disclosure of
25
     “accurate information regarding the network management practices, performance, and commercial
26   terms of its broadband Internet access services sufficient to enable consumers to make informed
     choices regarding the purchase and use of such services and entrepreneurs and other small
27   businesses to develop, market, and maintain Internet offerings”), with Cal. Civ. Code § 3101(a)(8)
     (requiring that disclosures also be sufficient “for content, application, service, and device providers
28   to develop, market, and maintain Internet offerings”).
                                                        18
                                                                                              COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 19 of 38



 1   following: (A) [d]elivering Internet traffic to, and carrying Internet traffic from, the Internet
 2   service provider’s end users[;] (B) [a]voiding having the edge providers’ content, application,
 3   service, or nonharmful device blocked from reaching the Internet service provider’s end users[;]
 4   [and] (C) [a]voiding having the edge providers’ content, application, service, or nonharmful device
 5   impaired or degraded.” Id. § 3101(a)(3). And Section 3104 provides that “any waiver of the
 6   provisions of this title is contrary to public policy and shall be unenforceable and void.” Id. § 3104.
 7   It is not clear how these vague provisions will be interpreted and applied, but they create substantial
 8   marketplace uncertainty with regard to existing and future arrangements between ISPs and edge
 9   providers.
10          38.      Governor Brown signed SB-822 into law on September 30, 2018.
11          39.      SB-822 is scheduled to take effect on January 1, 2019. See Cal. Const. art. IV,
12   § 8(c)(1) (“[A] statute enacted at a regular session shall go into effect on January 1 next following
13   a 90-day period from the date of enactment of the statute . . . .”).
14                                             SB-822 Is Preempted
15          40.      The admitted purpose and unmistakable effect of SB-822 is to reinstate rules the
16   FCC had adopted in the 2015 Order but later repealed in the 2018 Order. Indeed, the final Senate
17   floor analysis of the bill noted that its purpose is to effect a “continuation of net neutrality
18   requirements” established by the 2015 Order but repealed by the 2018 Order. Cal. Sen. Rules
19   Comm.,       Senate   Floor   Analysis:     SB-822,     at   4   (Aug.   30,   2018),   available   at
20   https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=201720180SB822.
21          41.      Accordingly, SB-822 is the very kind of state measure that the 2018 Order and the
22   Communications Act each preempt. As explained above, the 2018 Order expressly “preempt[s]
23   any state or local measures that would effectively impose rules or requirements that [the FCC has]
24   repealed or decided to refrain from imposing in this order or that would impose more stringent
25   requirements for any aspect of broadband service” addressed in the 2018 Order. 2018 Order ¶ 195
26   (emphases added). The 2018 Order’s preemption of “state or local measures” plainly covers SB-
27   822, which seeks to reinstate net neutrality requirements that the 2018 Order repealed and thus

28   explicitly “impose[s] [net neutrality] requirements” on ISPs in their provision of BIAS. Id. The

                                                        19
                                                                                              COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 20 of 38



 1   “rules or requirements that [the FCC] repealed” in the 2018 Order include the prior no-blocking
 2   rule, no-throttling rule, no-paid-prioritization rule, the Internet Conduct Standard, and oversight of
 3   ISPs’ interconnection and traffic-exchange practices. SB-822 reinstates all of these repealed
 4   rules. 6
 5              42.     In fact, SB-822 goes even further than the repealed federal rules. As set forth above,
 6   SB-822 includes a ban on zero-rating, which the 2015 Order never did. See 2015 Order ¶ 153
 7   (declining to ban zero-rating and subjecting the practice to case-by-case review under the Internet
 8   Conduct Standard).          SB-822 also imposes ambiguous restrictions that create substantial
 9   uncertainty regarding paid interconnection agreements between ISPs and edge providers, which
10   the 2015 Order sought to protect from heavy-handed regulation. See, e.g., id. ¶ 202 (declining to
11   outlaw paid interconnection or to apply net neutrality rules to the interconnection marketplace).
12   Because these aspects of SB-822 “impose more stringent requirements” than those repealed in the
13   2018 Order, they not only are preempted by the 2018 Order, 2018 Order ¶ 195 (emphasis added),
14   but would even have been preempted by the 2015 Order, see 2015 Order ¶ 433.
15              43.     Even apart from the 2018 Order’s express preemption ruling, SB-822 stands as an
16   obstacle to the federal policy of reducing regulation of BIAS by re-imposing the same regulations
17   the FCC repealed, and by enacting more intrusive restrictions in other areas. See, e.g., City of New
18   York v. FCC, 486 U.S. 57, 64 (1988) (“The statutorily authorized regulations of an agency will
19   pre-empt any state or local law that conflicts with such regulations or frustrates the purposes
20   thereof.”); Ark. Elec. Co-op., 461 U.S. at 384 (a federal determination that the area is best
21   left “unregulated” carries “as much pre-emptive force as a decision to regulate”) (emphasis in
22   original).       These measures blatantly flout the FCC’s statutorily authorized, federal policy
23

24
     6
      As noted above, SB-822 also includes a disclosure requirement that differs from the 2018 Order’s
25
     revised transparency rule. See supra note 5. This requirement is preempted as well, as the 2018
26   Order specifically preempts “any state laws that would require the disclosure of broadband Internet
     access service performance information, commercial terms, or network management practices in
27   any way inconsistent with the transparency rule we adopt herein.” 2018 Order ¶ 195 n.729.
     Indeed, California would have had no reason to enact SB-822’s disclosure requirement if the intent
28   were merely to replicate the FCC’s existing transparency rule.
                                                           20
                                                                                                 COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 21 of 38



 1   determinations and harm ISPs and consumers both by constraining the development of innovative
 2   new services at lower prices and by subjecting ISPs to a patchwork of complex, burdensome, and
 3   inconsistent regulation.
 4          44.     SB-822 also is flatly inconsistent with, and stands as an obstacle to, Congress’s
 5   statutory prohibition in the Communications Act on imposing common carrier regulation on
 6   broadband providers, except “to the extent” that they provide a “telecommunications service” or,
 7   in the case of wireless providers, a “commercial mobile service.”         47 U.S.C. §§ 153(51),
 8   332(c)(1)(A). The FCC determined in the 2018 Order that BIAS is an information service, not a
 9   telecommunications service. 2018 Order ¶ 239. The FCC also determined that wireless BIAS is
10   a private mobile service, not a commercial mobile service. Id. In so doing, the FCC further held
11   that these classifications best achieve federal policies of “encouraging broadband investment and
12   innovation, making broadband available to all Americans and benefitting the entire Internet
13   ecosystem.” 2018 Order ¶¶ 74, 86.
14          45.     Because BIAS is an information service rather than a telecommunications service,
15   broadband providers are exempt from common carrier regulation under federal law. See Verizon,
16   740 F.3d at 650 (finding it “obvious that the Commission would violate the Communications Act
17   were it to regulate broadband providers as common carriers,” given the Commission’s decision to
18   “classify broadband providers . . . as providers of ‘information services’”); id. (finding that,
19   “because the Commission has classified mobile broadband service as a ‘private’ mobile service
20   . . . , treatment of mobile broadband providers as common carriers would violate section 332”).
21   And, because wireless BIAS is a private mobile service, rather than a commercial mobile service,
22   wireless broadband providers are doubly exempt from common carrier regulation. See Cellco
23   P’ship v. FCC, 700 F.3d 534, 538 (D.C. Cir. 2012).
24          46.     As explained above, the D.C. Circuit previously struck down the FCC’s nearly
25   identical, pre-2015 net neutrality rules precisely because they imposed common carrier
26   requirements on providers that are exempt from such regulation. See id. at 657-68 (holding that a
27   net neutrality regime that includes flat bans on blocking and paid prioritization and thus “leaves

28   no room at all for individualized bargaining” constitutes impermissible common carrier regulation

                                                     21
                                                                                          COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 22 of 38



 1   of information service providers (internal quotations marks and citations omitted)). Even the
 2   prohibition on unreasonable interference “mirrors” statutory language “establishing the basic
 3   common carrier obligation not to ‘make any unjust or unreasonable discrimination.’” Id. at 657
 4   (quoting 47 U.S.C. § 202). By imposing common carrier regulation on both information services
 5   and private mobile services, SB-822 interferes with the federal policies expressed in the 2018
 6   Order and violates specific provisions of the Communications Act, and is therefore preempted on
 7   both grounds. See Charter Advanced Servs., 2018 WL 4260322, at *2 (“[A]ny state regulation of
 8   an information service conflicts with the federal policy of nonregulation, so that such regulation is
 9   preempted by federal law.” (internal quotation marks and citation omitted)).
10          47.     SB-822’s ban on certain zero-rating offerings also conflicts with Congress’s
11   express rejection of state authority to regulate the rates that private mobile service providers charge
12   their customers. See 47 U.S.C. § 332(c)(3)(A) (“[N]o State or local government shall have any
13   authority to regulate the entry of or the rates charged by any commercial mobile service or any
14   private mobile service.”). By banning mobile BIAS providers from setting the price for certain
15   data their customers send and receive at zero, SB-822 plainly regulates the “rates charged by . . .
16   a[] private mobile service” in violation of federal law. SB-822 is preempted in part for this reason
17   as well.
18                            SB-822 Violates the Dormant Commerce Clause
19          48.     SB-822 independently violates the Commerce Clause of the United States
20   Constitution, Art. I, § 8, cl. 3, both because it regulates “commerce occurring wholly outside the
21   boundaries of [California],” Healy v. Beer Inst., Inc., 491 U.S. 324, 336 (1989), and because it
22   imposes excessive burdens on interstate commerce that outweigh any purported local benefit, Pike
23   v. Bruce Church, Inc., 397 U.S. 137, 146 (1970). Under the “dormant” or “negative” Commerce
24   Clause, a state may not “discriminate against or burden the interstate flow of articles of
25   commerce,” Oregon Waste Sys., Inc. v. Dep’t of Envtl. Quality of State of Or., 511 U.S. 93, 98
26   (1994), or “erect barriers against interstate trade,” Lewis v. BT Inv. Managers, Inc., 447 U.S. 27,
27   35 (1980). SB-822 plainly violates these core constitutional principles.

28

                                                        22
                                                                                              COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 23 of 38



 1          49.     SB-822 is per se unconstitutional because it “has the ‘practical effect’ of regulating
 2   commerce occurring wholly outside [California’s] borders.” Healy, 491 U.S. at 332. As the FCC
 3   has long recognized, and as courts have confirmed, Internet access service is inherently interstate,
 4   and it is impossible or impracticable to separate Internet service into intrastate and interstate
 5   activities. See, e.g., 2018 Order ¶¶ 199-200 (citing prior FCC orders). Under the “packet
 6   switching” approach that undergirds all Internet transmissions, content is divided up into data
 7   packets that ISPs deliver by routing them over a variety of interconnected networks along dynamic
 8   paths without regard for state boundaries, which practically forecloses any effort to segregate
 9   intrastate from interstate Internet communications. Moreover, because the wireless signals that
10   mobile ISPs use do not stop at state borders, SB-822 also regulates extraterritorially when
11   customers in California with smartphones access the Internet by connecting to an antenna
12   physically located in a neighboring state. As this Court has recognized, “‘it is difficult, if not
13   impossible, for a state to regulate internet activities without projecting its legislation into other
14   States.’” Publius v. Boyer-Vine, 237 F. Supp. 3d 997 1024 (E.D. Cal. 2017) (quoting Am.
15   Booksellers Found. v. Dean, 342 F.3d 96, 103 (2d Cir. 2003), which had invalidated a state statute
16   regulating certain Internet activities because the “[I]nternet’s geographic reach . . . makes state
17   regulation impracticable”).
18          50.     Additionally, while many of the Internet’s major regional interconnection points
19   are located in California, an even larger number of those interconnection points are located outside
20   of California. It is not clear what the provisions of SB-822 quoted above in the interconnection
21   context mean, but because SB-822 appears to regulate Internet traffic-exchange agreements
22   without regard to where the interconnection points are located, it also regulates extraterritorially
23   in at least two ways. First, interconnection points in California also handle traffic destined for
24   customers in other states, so SB-822 necessarily regulates Internet traffic that crosses California’s
25   borders on the way to or from out-of-state customers. Second, because interconnection points
26   located outside of California handle traffic destined for customers in California, SB-822
27   necessarily regulates traffic exchange occurring wholly outside California. While a number of

28   other states have enacted their own net neutrality acts or promulgated net neutrality executive

                                                       23
                                                                                             COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 24 of 38



 1   orders—and an even larger number of states have not done so—none besides California has
 2   undertaken to regulate Internet interconnection and traffic exchange.           By contrast, SB-822
 3   uniquely regulates such inherently interstate activities through ambiguous provisions regulating
 4   the exchange of Internet traffic, including outside of California. It is not clear how these provisions
 5   will be interpreted or applied, but it appears that these California regulations could conflict with
 6   other states’ decisions to leave such arrangements to the marketplace, without regulation. Just as
 7   the preemption doctrines discussed above enforce the primacy of federal law with respect to
 8   interstate services like BIAS, so too does the dormant Commerce Clause protect against the
 9   encroachment of burdensome, inconsistent, and potentially contradictory state-level regimes for
10   such services.
11          51.       SB-822 independently violates the dormant Commerce Clause because it imposes
12   burdens on interstate commerce that are “excessive in relation to the putative local benefits” to
13   California. Pike, 397 U.S. at 142. As the FCC has found, the net neutrality requirements that the
14   State of California seeks to re-impose place significant burdens on interstate commerce that
15   outweigh any benefits those rules provide. See 2018 Order ¶¶ 239-266. For example, SB-822
16   revives the FCC’s Internet Conduct Standard, which the FCC repealed because it “subjects
17   providers to substantial regulatory uncertainty” and in turn led them to “forgo or delay innovative
18   service offerings . . . that benefit consumers,” and because the “net benefit of the Internet Conduct
19   Standard is negative.” 2018 Order ¶¶ 246-249 (emphasis added). Further, SB-822’s ambiguous
20   restrictions on paid interconnection arrangements with edge providers expose to potential liability
21   existing business practices that provide benefits to consumers, edge providers, and BIAS providers
22   alike. No less importantly, the Supreme Court has warned against the burden imposed on interstate
23   commerce caused “by subjecting activities to inconsistent regulations.” CTS Corp. v. Dynamics
24   Corp. of Am., 481 U.S. 69, 88 (1987); see also Nat’l Ass’n of Optometrists & Opticians v. Harris,
25   682 F.3d 1144, 1148 (9th Cir. 2012) (recognizing that “significant burdens on interstate commerce
26   generally result from inconsistent regulation of activities that are inherently national or require a
27   uniform system of regulation”). In the context of the Internet in particular, compliance with a

28   patchwork of inconsistent state laws is inherently burdensome and likely impossible.

                                                        24
                                                                                              COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 25 of 38



 1          52.     Against these burdens, the State did not, and indeed cannot, identify any local
 2   benefits SB-822 will provide, much less benefits that outweigh the heavy burdens imposed on
 3   interstate commerce—particularly in light of the 2018 Order’s investment-friendly approach to
 4   open Internet principles. As described above, the 2018 Order implements detailed transparency
 5   requirements under which ISPs must clearly disclose their network practices and terms of service.
 6   ISPs must disclose blocking, throttling, paid prioritization, congestion management, and other
 7   network management practices and performance characteristics. 2018 Order ¶¶ 219-222. These
 8   disclosures enable consumers to choose between ISPs; moreover, ISP commitments and
 9   disclosures are fully enforceable by the FTC, 7 as well as by state attorneys general, under federal
10   and state unfair and deceptive trade practices laws (provided they enforce such commitments in a
11   manner consistent with federal law). See 2018 Order ¶¶ 196, 244; see also id. ¶ 242. Beyond
12   those transparency requirements, consumer protection and antitrust laws provide a backstop
13   against any anti-competitive behavior. The FCC found that these constraints “will significantly
14   reduce the likelihood that ISPs will engage in actions that would harm consumers or competition.”
15   Id. ¶ 116.
16          53.     In concluding that this “lighter touch” approach would protect consumers, while
17   better promoting innovation and investment, the FCC found, based on its evaluation of the record
18   evidence, that “ISPs have strong incentives to preserve Internet openness,” id. ¶ 117, and that
19   “there has been a shift toward ISPs resolving openness issues themselves with less and less need
20   for Commission intervention,” id. ¶ 242. In that vein, all of the Associations’ members, either on
21   their own or through their Associations, have made public commitments to preserve Internet
22   openness, which, as described above, are fully enforceable.
23          54.     The Supreme Court has held that state regulations fail the dormant Commerce
24   Clause’s balancing test where, as here, the purported benefit “could be promoted as well with a
25   lesser impact on interstate activities.” Pike, 397 U.S. at 142. SB-822 fails even to offer a factual
26

27
     7
      The FTC has authority under Section 5 of the FTC Act to take enforcement action challenging
28   any “unfair or deceptive acts or practices.” 15 U.S.C. § 45(a)(1).
                                                      25
                                                                                            COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 26 of 38



 1   basis for the claims that its provisions will benefit the State, and that is plainly insufficient to
 2   overcome the excessive burdens these provisions impose on interstate commerce. See Bibb v.
 3   Navajo Freight Lines, Inc., 359 U.S. 520, 530 (1959) (when “balanced against the clear burden on
 4   commerce,” a state’s “inconclusive” showing of benefit is insufficient to defeat a dormant
 5   Commerce Clause challenge).
 6          55.     Furthermore, courts have long recognized that the dormant Commerce Clause
 7   prevents states from “imped[ing] . . . the free flow of commerce” where there exists a “need of
 8   national uniformity.” S. Pac. Co. v. State of Ariz. ex rel. Sullivan, 325 U.S. 761, 768 (1945);
 9   Morgan v. Commonwealth, 328 U.S. 373, 386 (1946). Indeed, courts foresaw the very dilemma
10   SB-822 poses, with one Court of Appeals observing “that the internet will soon be seen as falling
11   within the class of subjects that are protected from state regulation because they ‘imperatively
12   demand[] a single uniform rule.’” Am. Booksellers Found., 342 F.3d at 104 (quoting Cooley v.
13   Bd. of Wardens, 53 U.S. 299, 319 (1851)). As predicted, SB-822 is at the vanguard of inconsistent,
14   incongruous, and incompatible Internet access service regulations being adopted by numerous
15   states in disregard of the need for federal primacy and uniformity. The dormant Commerce Clause
16   is a bulwark “against inconsistent legislation arising from the projection of one state regulatory
17   regime into the jurisdiction of another State.” Healy, 491 U.S. at 337. SB-822 demands
18   application of this constitutional bulwark here.
19                                 Injury to the Associations’ Members
20          56.     SB-822 poses substantial harms to the Associations’ members. It subjects the
21   Associations’ members to unconstitutional legal requirements—a significant injury in and of itself,
22   and one that courts have found to be irreparable for purposes of issuing a permanent injunction.
23   See, e.g., Nat’l Collegiate Athletic Ass’n v. Christie, 926 F. Supp. 2d 551, 578 (D.N.J. 2013)
24   (holding that enactment of a law “in violation of the Supremacy Clause, alone, likely constitutes
25   an irreparable harm requiring the issuance of a permanent injunction”), aff’d sub nom. Nat’l
26   Collegiate Athletic Ass’n v. Governor of New Jersey, 730 F.3d 208 (3d Cir. 2013).
27          57.     As set forth in more detail in the accompanying Motion for Preliminary Injunction

28   and supporting declarations, SB-822’s ambiguous restrictions on paid interconnection agreements

                                                        26
                                                                                            COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 27 of 38



 1   between ISPs and edge providers create uncertainty that will harm ISPs’ businesses. Those
 2   provisions will influence ongoing commercial negotiations with edge providers, and even transit
 3   providers, CDNs, and other Internet network operators, some of which undoubtedly will claim that
 4   SB-822 entitles them to free interconnection with ISPs. And SB-822 subjects ISPs’ existing
 5   agreements with these entities to the threat of legal challenges under the vague “eva[sion]”
 6   standard in § 3101(a)(9). Furthermore, if the State or these other providers claim that SB-822
 7   regulates the nationwide exchange of Internet traffic so long as that traffic is sent to or from
 8   California users of BIAS services, ISPs face the risk of having to alter their traffic exchange
 9   agreements and potentially to reconfigure their physical networks nationwide. If the State or these
10   other providers instead claim that SB-822 regulates the exchange of all Internet traffic at points
11   within California, some providers likely will engage in arbitrage by routing substantial amounts of
12   their Internet traffic to interconnection points in California in an attempt to obtain increased
13   interconnection capacity on ISPs’ networks for free, thus causing significant additional congestion
14   and disruption at ISPs’ California facilities. All of these harms will result in financial losses and
15   other injuries that members can never recoup from the State.
16          58.     SB-822’s ban on zero-rating practices similarly outlaws existing business practices
17   and imposes substantial harms. Members’ continued offering of zero-rated services will likely
18   expose members to enforcement action and harm their reputation, whereas discontinuing these
19   services will lead to lost business and profits and will harm customers that currently benefit from
20   those services, causing harm to members’ reputation and customer goodwill. The resulting
21   financial losses and other harms likewise will not be recoverable from the State.
22          59.     Other requirements imposed by SB-822 will also cause irreparable injury to the
23   businesses of the Associations’ members. For instance, the 2018 Order makes clear that the
24   Internet Conduct Standard, which the FCC specifically repealed but which SB-822 reinstates for
25   California ISPs, subjects ISPs (and their customers) to significant harm. See 2018 Order ¶¶ 246-
26   252.   This “vague Internet Conduct Standard subjects providers to substantial regulatory
27   uncertainty,” id. ¶ 247, as a result of which “ISPs and edge providers of all sizes have foregone

28   and are likely to forgo or delay innovative service offerings or different pricing plans that benefit

                                                       27
                                                                                             COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 28 of 38



 1   consumers, citing regulatory uncertainty under the Internet Conduct Standard in particular,” id.
 2   ¶ 249. The loss of business opportunities caused by the application of and compliance with SB-
 3   822 will therefore result in irreparable harm to the Associations’ members. See Stuhlbarg Int’l
 4   Sales Co. v. John D. Brush & Co., 240 F.3d 832, 841 (9th Cir. 2001) (holding that the district court
 5   did not abuse its discretion in finding a permanent injunction necessary to prevent loss of business
 6   opportunities).
 7           60.       More broadly, state measures such as these that impose net neutrality requirements
 8   on ISPs “impair the provision of broadband Internet access service by requiring each ISP to comply
 9   with a patchwork of separate and potentially conflicting requirements across all the different
10   jurisdictions in which it operates.” 2018 Order ¶ 194. As noted above, this harmful “patchwork”
11   of state regulation has already become a reality. In addition to California, three other states
12   (Washington, Oregon, and Vermont) have enacted state-specific net neutrality legislation.
13   Additionally, six states (Hawaii, Montana, New Jersey, New York, Rhode Island, and Vermont)
14   have issued executive orders establishing state-specific net neutrality obligations. There is
15   significant variation among these state measures. For example, in contrast to SB-822, which
16   reinstates the FCC’s repealed Internet Conduct Standard, the New York executive order imposes
17   an entirely different catch-all provision prohibiting ISPs from “requir[ing] that end users pay
18   different or higher rates to access specific types of content or applications.” See New York EO-
19   175 (signed Jan. 24, 2018), available at https://on.ny.gov/2LBkRGY. Because of the inherently
20   interstate nature of the Internet, providers cannot apply California’s requirements to Internet
21   packets as they move through California, and then apply New York’s requirements when those
22   packets travel through New York. The provision of BIAS is already being “impair[ed]” by the
23   imposition of these separate and inconsistent state regulatory regimes. 2018 Order ¶ 194. And
24   these sorts of variations will only multiply as other states enact net neutrality legislation, and
25   different agencies and courts in different states interpret and enforce each state’s requirements
26   differently.
27

28

                                                        28
                                                                                            COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 29 of 38



 1                                    FIRST CLAIM FOR RELIEF
 2                                 SB-822 Is Preempted by Federal Law
 3           61.     The allegations of paragraphs 1 through 60 above are incorporated as though fully
 4   set forth herein.
 5           62.     SB-822 is preempted by the 2018 Order and the Communications Act. Under the
 6   Supremacy Clause of the United States Constitution, U.S. Const. art. VI, cl. 2, state laws that
 7   contravene validly enacted federal law are preempted and have no force or effect. SB-822
 8   contravenes binding federal law as set forth in the 2018 Order and the Communications Act and
 9   is therefore preempted.
10           63.     The 2018 Order expressly “preempt[s] any state or local measures that would
11   effectively impose rules or requirements that [the FCC has] repealed or decided to refrain from
12   imposing in this order or that would impose more stringent requirements for any aspect of
13   broadband service” addressed in the 2018 Order. 2018 Order ¶ 195 (emphases added).
14           64.     SB-822 plainly falls within the scope of this express preemption provision. It is a
15   state measure that seeks to reinstate net neutrality requirements that the 2018 Order repealed. And
16   SB-822 expands those obligations to a larger set of practices and services than the repealed federal
17   regulations covered, by imposing even more stringent prohibitions. SB-822 also is subject to
18   conflict preemption because it stands as an obstacle to and frustrates the federal policy of reducing
19   regulation of BIAS.
20           65.     In addition, the 2018 Order reclassifies BIAS as an information service and mobile
21   BIAS as a private mobile service, both of which are exempt from common carrier regulation under
22   the Communications Act. By basing its requirements on standards formerly predicated on
23   classifying BIAS as a common carrier telecommunications service, SB-822 imposes common
24   carrier regulation on ISPs in violation of the express terms of the Communications Act and federal
25   policy and is therefore preempted for that reason as well.
26           66.     In addition, insofar as it bans certain zero-rating offerings, SB-822 impermissibly
27   regulates the rates charged by private mobile service providers, in violation of 47 U.S.C. §

28   332(c)(3)(A).

                                                       29
                                                                                             COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 30 of 38



 1             67.      SB-822 subjects the Associations’ members to significant and irreparable harm by
 2   imposing unconstitutional requirements on members, outlawing existing business practices,
 3   causing members to lose business opportunities, and impairing members’ services by exposing
 4   them to a patchwork of inconsistent regulation.
 5             68.      California’s enforcement of SB-822 will deprive the Associations’ members of
 6   their rights under the Constitution and laws of the United States, in violation of 42 U.S.C. § 1983.
 7                                        SECOND CLAIM FOR RELIEF
 8                                SB-822 Violates the Dormant Commerce Clause
 9             69.      The allegations of paragraphs 1 through 68 above are incorporated as though fully
10   set forth herein.
11             70.      SB-822 violates the Commerce Clause of the United States Constitution. U.S.
12   Const. art. I, § 8, cl. 3.
13             71.      SB-822 is a state measure that regulates conduct occurring outside the borders of
14   the State. It also imposes burdens on interstate commerce that are not justified by putative in-state
15   benefits. Binding precedent holds that such state regulations are invalid under the Commerce
16   Clause.
17             72.      SB-822 subjects the Associations’ members to significant and irreparable harm by
18   imposing unconstitutional requirements on members, outlawing existing business practices,
19   causing members to lose business opportunities, and impairing members’ services by exposing
20   them to a patchwork of inconsistent and burdensome regulation.
21             73.      California’s enforcement of SB-822 will deprive the Associations’ members of
22   their rights under the Constitution and laws of the United States, in violation of 42 U.S.C. § 1983.
23                                          PRAYER FOR RELIEF
24             WHEREFORE, Plaintiffs respectfully request that the Court grant the following relief:
25                   1. A declaration and judgment pursuant to 28 U.S.C. § 2201 that SB-822 is preempted
26                      by federal law.
27                   2. A declaration and judgment pursuant to 28 U.S.C. § 2201 that SB-822 violates the

28                      Commerce Clause.

                                                        30
                                                                                             COMPLAINT
     Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 31 of 38



 1              3. Preliminary and permanent injunctive relief preventing Defendant from enforcing
 2                 or giving effect to SB-822.
 3              4. An award of reasonable costs and attorneys’ fees pursuant to 42 U.S.C. § 1988.
 4              5. Such further relief as the Court deems just and equitable.
 5
     Dated: October 3, 2018
 6                                                     Respectfully submitted,

 7                                                     /s/ Marc R. Lewis
      Scott H. Angstreich*                             Marc R. Lewis (CA SBN 233306)
 8
      Brendan J. Crimmins*                             LEWIS & LLEWELLYN LLP
 9    Rachel Proctor May*                              505 Montgomery Street, Suite 1300
      KELLOGG, HANSEN, TODD, FIGEL, &                  San Francisco, CA 94111
10    FREDERICK, P.L.L.C.                              (415) 800-0591
      1615 M Street NW, Suite 400                      mlewis@lewisllewellyn.com
11    Washington, DC 20036
12    (202) 326-7900                                   Attorney for Plaintiffs American Cable
      sangstreich@kellogghansen.com                    Association, CTIA – The Wireless
13    bcrimmins@kellogghansen.com                      Association, NCTA – The Internet &
      rmay@kellogghansen.com                           Television Association, and USTelecom –
14                                                     The Broadband Association
      Attorneys for Plaintiffs CTIA – The Wireless
15    Association and USTelecom – The                  Matthew A. Brill*
16    Broadband Association                            Matthew T. Murchison*
                                                       Adam J. Tuetken*
17    Jeffrey A. Lamken*                               LATHAM & WATKINS LLP
      MOLOLAMKEN LLP                                   555 Eleventh Street NW, Suite 1000
18    The Watergate, Suite 600                         Washington, DC 20004
      600 New Hampshire Ave., NW                       (202) 637-2200
19    Washington, DC 20037                             matthew.brill@lw.com
20    (202) 556-2000                                   matthew.murchison@lw.com
      jlamken@mololamken.com                           adam.tuetken@lw.com
21
      Attorney for Plaintiff American Cable            Attorneys for Plaintiff NCTA – The Internet
22    Association                                      & Television Association
23
     *Pro hac vice motion to be filed
24

25

26

27

28

                                                     31
                                                                                         COMPLAINT
Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 32 of 38




                        EXHIBIT A
STATE OF CALIFORNIA
AUTHENTICATED           Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 33 of 38
ELECTRONIC LEGAL MATERIAL




                                          Senate Bill No. 822

                                            CHAPTER 976

     An act to add Title 15 (commencing with Section 3100) to Part 4 of
   Division 3 of the Civil Code, relating to communications.

                            [Approved by Governor September 30, 2018. Filed with
                                   Secretary of State September 30, 2018.]

                                     legislative counsel’s digest
      SB 822, Wiener. Communications: broadband Internet access service.
      Existing law imposes certain obligations in the context of particular
   transactions, and provides mechanisms to enforce those obligations.
      This bill would enact the California Internet Consumer Protection and
   Net Neutrality Act of 2018. This act would prohibit ﬁxed and mobile Internet
   service providers, as deﬁned, that provide broadband Internet access service,
   as deﬁned, from engaging in speciﬁed actions concerning the treatment of
   Internet trafﬁc. The act would prohibit, among other things, blocking lawful
   content, applications, services, or nonharmful devices, impairing or
   degrading lawful Internet trafﬁc on the basis of Internet content, application,
   or service, or use of a nonharmful device, and speciﬁed practices relating
   to zero-rating, as deﬁned. It would also prohibit ﬁxed and mobile Internet
   service providers from offering or providing services other than broadband
   Internet access service that are delivered over the same last-mile connection
   as the broadband Internet access service, if those services have the purpose
   or effect of evading the above-described prohibitions or negatively affect
   the performance of broadband Internet access service.

      The people of the State of California do enact as follows:

      SECTION 1. (a) The Legislature ﬁnds and declares all of the following:
      (1) This act is adopted pursuant to the police power inherent in the State
   of California to protect and promote the safety, life, public health, public
   convenience, general prosperity, and well-being of society, and the welfare
   of the state’s population and economy, that are increasingly dependent on
   an open and neutral Internet.
      (2) Almost every sector of California’s economy, democracy, and society
   is dependent on the open and neutral Internet that supports vital functions
   regulated under the police power of the state, including, but not limited to,
   each of the following:
      (A) Police and emergency services.
      (B) Health and safety services and infrastructure.
      (C) Utility services and infrastructure.



                                                                                   89
           Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 34 of 38
Ch. 976                             —2—

  (D) Transportation infrastructure and services, and the expansion of zero-
and low-emission transportation options.
  (E) Government services, voting, and democratic decisionmaking
processes.
  (F) Education.
  (G) Business and economic activity.
  (H) Environmental monitoring and protection, and achievement of state
environmental goals.
  (I) Land use regulation.
  (b) This act shall be known, and may be cited, as the California Internet
Consumer Protection and Net Neutrality Act of 2018.
  SEC. 2. Title 15 (commencing with Section 3100) is added to Part 4 of
Division 3 of the Civil Code, to read:

                   TITLE 15. INTERNET NEUTRALITY

   3100. For purposes of this title, the following deﬁnitions apply:
   (a) “Application-agnostic” means not differentiating on the basis of
source, destination, Internet content, application, service, or device, or class
of Internet content, application, service, or device.
   (b) “Broadband Internet access service” means a mass-market retail
service by wire or radio provided to customers in California that provides
the capability to transmit data to, and receive data from, all or substantially
all Internet endpoints, including, but not limited to, any capabilities that are
incidental to and enable the operation of the communications service, but
excluding dial-up Internet access service. “Broadband Internet access
service” also encompasses any service provided to customers in California
that provides a functional equivalent of that service or that is used to evade
the protections set forth in this title.
   (c) “Class of Internet content, application, service, or device” means
Internet content, or a group of Internet applications, services, or devices,
sharing a common characteristic, including, but not limited to, sharing the
same source or destination, belonging to the same type of content,
application, service, or device, using the same application- or transport-layer
protocol, or having similar technical characteristics, including, but not
limited to, the size, sequencing, or timing of packets, or sensitivity to delay.
   (d) “Content, applications, or services” means all Internet trafﬁc
transmitted to or from end users of a broadband Internet access service,
including, but not limited to, trafﬁc that may not ﬁt clearly into any of these
categories.
   (e) “Edge provider” means any individual or entity that provides any
content, application, or service over the Internet, and any individual or entity
that provides a device used for accessing any content, application, or service
over the Internet.
   (f) “End user” means any individual or entity that uses a broadband
Internet access service.



                                                                             89
           Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 35 of 38
                                    —3—                                Ch. 976

   (g) “Enterprise service offering” means an offering to larger organizations
through customized or individually negotiated arrangements or special
access services.
   (h) “Fixed broadband Internet access service” means a broadband Internet
access service that serves end users primarily at ﬁxed endpoints using
stationary equipment. Fixed broadband Internet access service includes, but
is not limited to, ﬁxed wireless services including, but not limited to, ﬁxed
unlicensed wireless services, and ﬁxed satellite services.
   (i) “Fixed Internet service provider” means a business that provides ﬁxed
broadband Internet access service to an individual, corporation, government,
or other customer in California.
   (j) “Impairing or degrading lawful Internet trafﬁc on the basis of Internet
content, application, or service, or use of a nonharmful device” means
impairing or degrading any of the following: (1) particular content,
applications, or services; (2) particular classes of content, applications, or
services; (3) lawful Internet trafﬁc to particular nonharmful devices; or (4)
lawful Internet trafﬁc to particular classes of nonharmful devices. The term
includes, without limitation, differentiating, positively or negatively, between
any of the following: (1) particular content, applications, or services; (2)
particular classes of content, applications, or services; (3) lawful Internet
trafﬁc to particular nonharmful devices; or (4) lawful Internet trafﬁc to
particular classes of nonharmful devices.
   (k) “Internet service provider” means a business that provides broadband
Internet access service to an individual, corporation, government, or other
customer in California.
   (l) “ISP trafﬁc exchange” means the exchange of Internet trafﬁc destined
for, or originating from, an Internet service provider’s end users between
the Internet service provider’s network and another individual or entity,
including, but not limited to, an edge provider, content delivery network,
or other network operator.
   (m) “ISP trafﬁc exchange agreement” means an agreement between an
Internet service provider and another individual or entity, including, but not
limited to, an edge provider, content delivery network, or other network
operator, to exchange Internet trafﬁc destined for, or originating from, an
Internet service provider’s end users between the Internet service provider’s
network and the other individual or entity.
   (n) “Mass market” service means a service marketed and sold on a
standardized basis to residential customers, small businesses, and other
customers, including, but not limited to, schools, institutions of higher
learning, and libraries. “Mass market” services also include broadband
Internet access services purchased with support of the E-rate and Rural
Health Care programs and similar programs at the federal and state level,
regardless of whether they are customized or individually negotiated, as
well as any broadband Internet access service offered using networks
supported by the Connect America Fund or similar programs at the federal
and state level. “Mass market” service does not include enterprise service
offerings.


                                                                             89
           Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 36 of 38
Ch. 976                            —4—

   (o) “Mobile broadband Internet access service” means a broadband
Internet access service that serves end users primarily using mobile stations.
Mobile broadband Internet access service includes, but is not limited to,
broadband Internet access services that use smartphones or
mobile-network-enabled tablets as the primary endpoints for connection to
the Internet, as well as mobile satellite broadband services.
   (p) “Mobile Internet service provider” means a business that provides
mobile broadband Internet access service to an individual, corporation,
government, or other customer in California.
   (q) “Mobile station” means a radio communication station capable of
being moved and which ordinarily does move.
   (r) “Paid prioritization” means the management of an Internet service
provider’s network to directly or indirectly favor some trafﬁc over other
trafﬁc, including, but not limited to, through the use of techniques such as
trafﬁc shaping, prioritization, resource reservation, or other forms of
preferential trafﬁc management, either (1) in exchange for consideration,
monetary or otherwise, from a third party, or (2) to beneﬁt an afﬁliated
entity.
   (s) “Reasonable network management” means a network management
practice that is reasonable. A network management practice is a practice
that has a primarily technical network management justiﬁcation, but does
not include other business practices. A network management practice is
reasonable if it is primarily used for, and tailored to, achieving a legitimate
network management purpose, taking into account the particular network
architecture and technology of the broadband Internet access service, and
is as application-agnostic as possible.
   (t) “Zero-rating” means exempting some Internet trafﬁc from a customer’s
data usage allowance.
   3101. (a) It shall be unlawful for a ﬁxed Internet service provider, insofar
as the provider is engaged in providing ﬁxed broadband Internet access
service, to engage in any of the following activities:
   (1) Blocking lawful content, applications, services, or nonharmful devices,
subject to reasonable network management.
   (2) Impairing or degrading lawful Internet trafﬁc on the basis of Internet
content, application, or service, or use of a nonharmful device, subject to
reasonable network management.
   (3) Requiring consideration, monetary or otherwise, from an edge
provider, including, but not limited to, in exchange for any of the following:
   (A) Delivering Internet trafﬁc to, and carrying Internet trafﬁc from, the
Internet service provider’s end users.
   (B) Avoiding having the edge provider’s content, application, service,
or nonharmful device blocked from reaching the Internet service provider’s
end users.
   (C) Avoiding having the edge provider’s content, application, service,
or nonharmful device impaired or degraded.
   (4) Engaging in paid prioritization.



                                                                            89
           Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 37 of 38
                                    —5—                                 Ch. 976

   (5) Engaging in zero-rating in exchange for consideration, monetary or
otherwise, from a third party.
   (6) Zero-rating some Internet content, applications, services, or devices
in a category of Internet content, applications, services, or devices, but not
the entire category.
   (7) (A) Unreasonably interfering with, or unreasonably disadvantaging,
either an end user’s ability to select, access, and use broadband Internet
access service or the lawful Internet content, applications, services, or devices
of the end user’s choice, or an edge provider’s ability to make lawful content,
applications, services, or devices available to end users. Reasonable network
management shall not be a violation of this paragraph.
   (B) Zero-rating Internet trafﬁc in application-agnostic ways shall not be
a violation of subparagraph (A) provided that no consideration, monetary
or otherwise, is provided by any third party in exchange for the Internet
service provider’s decision whether to zero-rate trafﬁc.
   (8) Failing to publicly disclose accurate information regarding the network
management practices, performance, and commercial terms of its broadband
Internet access services sufﬁcient for consumers to make informed choices
regarding use of those services and for content, application, service, and
device providers to develop, market, and maintain Internet offerings.
   (9) Engaging in practices, including, but not limited to, agreements, with
respect to, related to, or in connection with, ISP trafﬁc exchange that have
the purpose or effect of evading the prohibitions contained in this section
and Section 3102. Nothing in this paragraph shall be construed to prohibit
Internet service providers from entering into ISP trafﬁc exchange agreements
that do not evade the prohibitions contained in this section and Section 3102.
   (b) It shall be unlawful for a mobile Internet service provider, insofar as
the provider is engaged in providing mobile broadband Internet access
service, to engage in any of the activities described in paragraphs (1), (2),
(3), (4), (5), (6), (7), (8), and (9) of subdivision (a).
   3102. (a) It shall be unlawful for a ﬁxed Internet service provider to
offer or provide services other than broadband Internet access service that
are delivered over the same last-mile connection as the broadband Internet
access service, if those services satisfy either of the following conditions:
   (1) They have the purpose or effect of evading the prohibitions in Section
3101.
   (2) They negatively affect the performance of broadband Internet access
service.
   (b) It shall be unlawful for a mobile Internet service provider to offer or
provide services other than broadband Internet access service that are
delivered over the same last-mile connection as the broadband Internet
access service, if those services satisfy either of the conditions speciﬁed in
paragraphs (1) and (2) of subdivision (a).
   (c) Nothing in this section shall be construed to prohibit a ﬁxed or mobile
Internet service provider from offering or providing services other than
broadband Internet access service that are delivered over the same last-mile



                                                                              89
           Case 2:18-cv-02684-JAM-DB Document 1 Filed 10/03/18 Page 38 of 38
Ch. 976                            —6—

connection as the broadband Internet access service and do not violate this
section.
   3103. (a) Nothing in this title supersedes any obligation or authorization
a ﬁxed or mobile Internet service provider may have to address the needs
of emergency communications or law enforcement, public safety, or national
security authorities, consistent with or as permitted by applicable law, or
limits the provider’s ability to do so.
   (b) Nothing in this title prohibits reasonable efforts by a ﬁxed or mobile
Internet service provider to address copyright infringement or other unlawful
activity.
   3104. Notwithstanding Section 3268 or any other law, any waiver of
the provisions of this title is contrary to public policy and shall be
unenforceable and void.
   SEC. 3. The provisions of this act are severable. If any provision of this
act or its application is held invalid, that invalidity shall not affect other
provisions or applications that can be given effect without the invalid
provision or application.




                                      O


                                                                           89
